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Roddrick Newhouse, Trustee
401 Century Parkway
Suite 715
Allen, TX 75013
Telephone: (469) 777-6560
Email: rn7trustee@gmail.com

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              SAN ANGELO DIVISION

IN RE:                                      §
                                            §
ROTO, INC.,                                 §              CASE NO. 22-60072-RLJ7
                                            §
       Debtor.                              §              Chapter 7
                                            §

                    MOTION TO RE-OPEN CHAPTER 7 CASE
             PURSUANT TO 11 U.S.C. §350 AND BANKRUPTCY RULE 5010

     ANY PARTY WISHING TO RESPOND TO THIS PLEADING MUST FILE THE
RESPONSE WITH THE U.S. BANKRUPTCY CLERK, GEORGE MAHON FEDERAL
BUILDING, 1205 TEXAS AVENUE, ROOM 306, LUBBOCK, TX 79401-4002, WITHIN 21
DAYS OF THE SERVICE OF THIS PLEADING. IF A RESPONSE IS FILED AND
SERVED TIMELY, A HEARING ON THE RESPONSE WILL BE SCHEDULED WITH A
NOTICE TO THE RESPONDING PARTY ONLY.

     IF NO RESPONSE IS FILED AND TIMELY SERVED ON THE TRUSTEE, THE
COURT MAY DEEM THE RELIEF REQUESTED UNOPPOSED AND MAY ENTER AN
ORDER GRANTING THE RELIEF REQUESTED WITHOUT FURTHER NOTICE TO
ANY PARTY.

TO THE HONORABLE RONALD L. JONES, U. S. BANKRUPTCY JUDGE:

       Roddrick Newhouse, Trustee, files this Motion to Reopen Pursuant to 11 U.S.C. §350

and Bankruptcy Rule 5010 and in support respectfully shows the Court the following:

       1. ROTO, INC., Debtor, filed its voluntary petition for relief under Chapter 7 of the

Bankruptcy Code on December 28, 2022. Roddrick Newhouse was appointed Interim Trustee

of the bankruptcy estate.

       2. The Trustee’s Report of No Distribution was filed on April 26, 2023 and trustee was

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discharged and the case was closed on May 30, 2023.

         3. The Interim Trustee has received funds in connection with a refund from Ford Credit

listed on bankruptcy schedules.

         4. The former Trustee, Roddrick Newhouse, believes the case should be re-opened to

allow the trustee to administer the assets.

         5. The former Trustee requests the U.S. Trustee to appoint a trustee to administer the

case and the property.

         6. The assets in this case constitute cause under 11 U.S.C. §350 to reopen this case.

         FOR THESE REASONS, Roddrick Newhouse, Trustee prays that this Court enter an

Order:

        Reopening this case;

        Directing the U.S. Trustee to appoint a Chapter 7 trustee; and

        Granting any other relief this Court deems appropriate.


                                               Respectfully submitted,

                                               By: /s/ Roddrick Newhouse
                                                  Roddrick Newhouse
                                                  CHAPTER 7 TRUSTEE
                                                  401 Century Parkway
                                                  Suite 715
                                                  Telephone: (469) 777-6560
                                                  Email: rn7trustee@gmail.com




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                                 CERTIFICATE OF SERVICE

        I, Roddrick Newhouse, certify that a true and correct copy of the MOTION TO RE-
OPEN CHAPTER 7 CASE PURSUANT TO 11 U.S.C. §350 AND BANKRUPTCY RULE
5010 was forwarded by electronic transmission or first class mail, postage prepaid, to the United
States Trustee, 1100 Commerce Street, Room 976, Dallas, TX 75242, and to the parties included
on the attached Service List, on this 24th day of July 2023.

                                                    /s/ Roddrick Newhouse
                                                    Roddrick Newhouse, Trustee




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Label Matrix for local noticing              Ally Document
                                                  Bank, c/o AIS Portfolio
                                                                     Page Services,
                                                                             4 of 6LLC      First Bank Texas
0539-6                                       4515 N Santa Fe Ave. Dept. APS                 100 Willow Bend Dr.
Case 22-60072-rlj7                           Oklahoma City, OK 73118-7901                   Willow Park, TX 76008-5746
Northern District of Texas
San Angelo
Mon Jul 24 08:49:23 CDT 2023
(p)FORD MOTOR CREDIT COMPANY                 (p)DEERE CREDIT SERVICES INC                   Roto, Inc.
P O BOX 62180                                ATTN LITIGATION & RECOVERY DEPARTMENT          3135 Executive Dr.
COLORADO SPRINGS CO 80962-2180               PO BOX 6600                                    San Angelo, TX 76904-6801
                                             JOHNSTON IA 50131-6600


Tom Green CAD                                U.S. Bank National Association                 306 Federal Building
Linebarger Goggan Blair & Sampson, LLP       14841 Dallas Parkway, Suite 425                1205 Texas Avenue
c/o Sherrel K. Knighton                      Dallas, TX 75254-8067                          Lubbock, TX 79401-4037
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207-2328
350th District Court                         AMEX                                           AT&T
300 Oak St., Ste. 404                        P.O. Box 981537                                P.O. Box 6463
Abilene, TX 79602-1534                       El Paso, TX 79998-1537                         Carol Stream, IL 60197-6463



Airgas                                       Airgas USA, LLC                                Allen Young Office Machines
2929 N. Bryant Blvd.                         110 West 7th Street, Suite 1300                60 N. Chadbourne
San Angelo, TX 76903-2362                    Tulsa, OK 74119-1106                           San Angelo, TX 76903-5849



Ally                                         Ally Bank                                      Angelo Plumbing Supply
Payment Processing Center                    AIS Portfolio Services, LLC                    2500 N. Bryant Blvd.
P.O. Box 9001948                             4515 N Santa Fe Ave. Dept. APS                 San Angelo, TX 76903-2868
Louisville, KY 40290-1948                    Oklahoma City, OK 73118-7901


Antraquip Coporation                         Aramark/Ameripride Services                    B & W Trailer
758 Bowman Ave.                              2680 Palumbo Dr.                               P.O. Box 5277
Hagerstown, MD 21740-6809                    Lexington, KY 40509-1234                       San Angelo, TX 76902-5277



BenMark Supply Company                       Bill Williams Tire Center                      Bitco
P.O. Box 198                                 P.O. Box 1772                                  P.O. Box 933370
Midland, TX 79702-0198                       Midland, TX 79702-1772                         Atlanta, GA 31193-3370



Boley-Featherston Ins.                       Bridgestone Hose Power                         CAN-DOO Budget Rentals
P.O. Box 97513                               50 Industrial Loop North                       301 Goliad Dr.
Whichita Falls, TX 76307-7513                Orange Park, FL 32073-6258                     Abiene, TX 79601-6246



Capital One                                  Chrysler Capital                               City of San Angelo
P.O. Box 60519                               P.O. Box 660335                                P.O. Box 5820
City of Industry, CA 91716-0519              Dallas, TX 75266-0335                          San Angelo, TX 76902-5820
               Case 22-60072-rlj7          Doc 38   Filed 07/24/23          Entered 07/24/23 09:04:21     Desc Main
Core & Main                                    Cure Document
                                                    Payment Recovery Solutions
                                                                       Page 5 of 6           Daimler Truck Financial
P.O. Box 283320                                1490 William Floyd Pkwy, Ste. 104             P.O. Box 4160
St Louis, MO 63146                             East Yaphank, NY 11967-1820                   Carol Stream, IL 60197-4160



Dean & Linebarger                              E&R Supply Co.                                Ed Cheatle
305 W. Twohig                                  1717 S. Chadbourne                            2726 Oak Mountain Trail
San Angelo, TX 76903-6319                      San Angelo, TX 76903-8596                     San Angelo, TX 76904-7417



Fenix Capital Funding, LLC                     First National Bank & Trust Co.               First National Bank & Trust Co.
9265 4th Ave., 2nd Floor                       First Bank Texas                              First Bank Texas
Brooklyn, NY 11209-7006                        1100 E Main St                                1849 South 1st
                                               Weatherford, OK 73096-5799                    Abilene, TX 79602-1107


First National Bank & Trust Co.                FleetPride                                    Ford Credit
First Bank Texas                               P.O. Box 847118                               P.O. Box 650575
P.O. Box 968                                   Dallas, TX 75284-7118                         Dallas, TX 75265-0575
Baird, TX 79504-0968


Gas Card                                       HUBER Technology                              Hargraves Tire & Auto
P.O. Box 51140                                 1009 Airlie Parkway                           1617 Pulliam St.
Midland, TX 79710-1140                         Denver, NC 28037-7705                         San Angelo, TX 76905-5111



Hay, Wittenburg, Davis, Caldwell, & Bale       John Deer Financial                           John Voller
Attn: Larry W. Bale                            P.O. Box 650215                               4066 Monticello St.
P.O. Box 271                                   Dallas, TX 75265-0215                         Abilene, TX 79605-3823
San Angelo, TX 76902-0271


Kings County Supreme Court                     LG Funding LLC                                McCoys Building Supply
360 Adams St #4                                1218 Union Street.                            P.O, Box 1362
Brooklyn, NY 11201-3749                        Brooklyn, NY 11225-1512                       San Marcus, TX 78667-1362



Mercedez-Benz Financial                        Miller Ag Service & Supply                    Optimum Business
P.O. Box 685                                   P.O. Box 625                                  1111 Stewart Ave.
Roanoke, TX 76262-0685                         Eden, TX 76837-0625                           Bethpage, NY 11714-3533



Phillips and Associates, CPA’s                 Precision Pump Systems                        QFS Capital Funding
2709 81st St., Ste. A                          P.O. Box 73149                                110 E Broward Blvd.
Lubbock, TX 79423-2225                         Houston, TX 77273-3149                        Fort Lauderdale, FL 33301-3503



Rendall Sikes PLLC                             SKG Engineering                               Texas Mutual
Attn: Celena Adcock                            1122 S. Bryant                                P.O. Box 841843
5310 Harvest Hill Rd., Ste. 260                San Angelo, TX 76903                          Dallas, TX 75284-1843
Dallas, TX 75230-5811
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The Leyvi Law Group, P.C.                            Tom Green County Appraisal
                                                          Document              District
                                                                             Page    6 of 6               Tom Halfman
Attn: Leyvi Maksim                                   2302 Pulliam                                         7889 Elk Run
227 Sea Breeze Ave., Ste. 2A                         San Angelo, TX 76905-5165                            San Angelo, TX 76901-4961
Brooklyn, NY 11224-3794


(p)US BANK                                           United States Trustee                                Velocity
PO BOX 5229                                          1100 Commerce Street                                 290 Broadhollow Rd.
CINCINNATI OH 45201-5229                             Room 976                                             Melville, NY 11747-4836
                                                     Dallas, TX 75242-0996


Vulcan Materials                                     WTGF WTG Fuels                                       Wells Fargo
P.O. Box 849131                                      P.O. Box 3514                                        420 Montgomery St.
Dallas, TX 75284-9131                                Midland, TX 79702-3514                               San Francisco, CA 94104-1298



West TX Rock Resources, LLC                          Yellowhouse Machinery Co.                            Roddrick Breon Newhouse
P.O. Box 871                                         P.O. Box 31388                                       401 Century Pkwy
Roscoe, TX 79545-0871                                Amarillo, TX 79120-1388                              Unit 715
                                                                                                          Allen, TX 75013-8043


Ronald M. Mapel
Ronald M. Mapel, Attorney at Law
3119 Cumberland Drive
San Angelo, TX 76904-6110




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ford Motor Credit Company LLC                        John Deere Construction & Forestry Company           (d)National Bankruptcy Service Center
PO Box 62180                                         P.O. Box 6600                                        Ford Credit
Colorado Springs, CO 80962                           Johnston, IA 50131                                   P.O. Box 62180
                                                                                                          Colorado Springs, CO 80962


US Bank                                              End of Label Matrix
P.O. Box 790179                                      Mailable recipients      72
St. Louis, MO 63179                                  Bypassed recipients       0
                                                     Total                    72
